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AO I 06 ( Rev. 04/1 OJ Application for a Search Warrant



                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                                                                                               FEB O5 2020
                                                          Southern District of California
                                                                                                                   CLERK, u .S. :'\ISTR!CT COURT
              In the Matter of the Search of                                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                         )
         (Briefly describe the property to be searched                   )                                     BY          -        - ·---   DEPUlY
          or identify the person by name and address)
                  iPhone S Model A1633
                                                                         )
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                                                                         )
                                                                                     Case No.
                                                                                                  2 0 MJo 5 :i 0                4

         Seized as FP&F No. 20202504000961-01
                                                                         )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
properly lo be searched and give its location):

 See Attachment A-2

located in the               Southern               District of              California            , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B

           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                  ~ evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
              Code Section                                                           Offense Description

        21 U.S.C. §§ 952 and 960                     Importation of Methamphetamine

          The application is based on these facts:
        See attached Affidavit of Special Agent

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                  Applicant 's signature

                                                                                          Carmen Jacobsen , Special Agent HSI
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:       ~ }Ir- J/z<P                                                             lhfJB          Judge 's signature

City and state: San Diego, CA                                                   Hon. William V. Gallo, United States Magistrate Judge
                                                                                                  Printed name and title
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 1                                          AFFIDAVIT
 2         I, Special Agent Carmen Jacobsen, being duly sworn, hereby state as follows:
 3                                       INTRODUCTION
 4 II      1.     I submit this affidavit in support of applications for warrants to search the
 5 II following electronic device(s):
 6                       iPhone 7 Plus
 7                       IMEi No. Unknown
 8                       Seized as FP&F No. 2020250400096101, Line Item 0006
 9                       ("Target Device Ol "), as further described in Attachment A-1
10
11                       iPhone S Model A 163 3
12                       IMEi No. Unknown
13                       Seized as FP&F No. 2020250400096101, Line Item 0006
14                       ("Target Device 02"), as further described in Attachment A-2
15
1611 and to seize evidence of crimes, specifically violations of Title 21, United States Code,
17 II Sections 952, 960 and 963 as further described in Attachment B. The requested warrant
18 II relates to the investigation and prosecution of Roy Eduardo RAMOS-Figueroa
19 II ("Defendant") for importing approximately 27.30 kilograms (60.19 pounds) of
20 II Methamphetamine, and 1.24 kilograms (2. 73 pounds) of Cocaine from Mexico into the
21 II United States. The Target Devices are currently in the HSI evidence vault located at 880
2211 Front Street, Suite 3200, San Diego CA 92101.
23 II      2.     The information contained in this affidavit is based upon my training,
24 II experience, investigation, and consultation with other members of law enforcement.
25 II Because this affidavit is made for the limited purpose of obtaining a search warrant for the
26 II Target Device, it does not contain all the information known by me or other agents
2711 regarding this investigation. All dates and times described are approximate.
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 1                                        BACKGROUND
 2         3.     I have been employed as a Special Agent with Homeland Security
 3 II Investigations (HSI) since its inception and started with INS in 1992. I am currently
 4 II assigned to the HSI Office of the Special Agent in Charge, in San Diego, California. I am
 5 II a graduate of the Federal Law Enforcement Training Center in Glynco, Georgia.
 611       4.     During my tenure with HSI, I have participated in the investigation of various
 7 II narcotics trafficking organizations involved in the importation and distribution of
 8 II controlled substances into and through the Southern District of California. Through my
 9 II training, experience, and conversations with other law enforcement officers experienced in
1O II narcotics trafficking investigations, I have gained a working knowledge of the operational
11 II habits of narcotics traffickers, in particular those who attempt to import narcotics into the
12 II United States from Mexico at Ports of Entry.
13 II      5.     I am aware that it is common practice for narcotics traffickers to work in
14 II concert utilizing cellular telephones. A common tactic utilized by narcotics traffickers is
15 II to smuggle controlled substances into the United States from Mexico by concealing the
16 II controlled substances in vehicles that enter the United States at Ports of Entry such as the
1711 San Ysidro Port of Entry and the Otay Mesa Port of Entry. With respect to the importation
18 II of narcotics in this manner, I am aware that narcotics traffickers in Mexico frequently
19 II communicate with the individual ("the driver") responsible for driving the vehicle
20 II containing the concealed narcotics into the United States. These communications can
21 II occur before, during and after the narcotics are imported into the United States. For
22 II example, prior to the importation, narcotics traffickers frequently communicate with the
23 II driver regarding arrangements and preparation for the narcotics importation.      When the
24 II importation is underway, narcotics traffickers frequently communicate with the driver to
25 II remotely monitor the progress of the narcotics, provide instructions to the driver and warn
26 II accomplices about law enforcement activity. When the narcotics have been imported into
27 II the United States, narcotics traffickers may communicate with the driver to provide further
28 II instructions regarding the transportation of the narcotics to a destination within the United

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 1 II States.
 2              6.   Based upon my training, experience, and consultations with law enforcement
 3 officers experienced in narcotics trafficking investigations, and all the facts and opinions
 4 set forth in this affidavit, I am aware that cellular telephones (including their SIM card(s))
 5 II can and often do contain electronic evidence, including, for example, phone logs and
 611 contacts, voice and text communications, and data, such as emails, text messages, chats
 7 II and chat logs from various third-party applications, photographs, audio files , videos, and
 8 II location data. This information can be stored within disks, memory cards, deleted data,
 9 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
10 II telephone. Specifically, searches of cellular telephones of individuals involved in the
11   II importation of narcotics may yield evidence:
12
             a.      tending to indicate efforts to import controlled substances from Mexico
13                   into the United States;
14
            b.       tending to identify accounts, facilities, storage devices, and/or services-
15                   such as email addresses, IP addresses, and phone numbers-used to
                     facilitate the importation of controlled substances from Mexico into the
16
                     United States;
17
            C.       tending to identify co-conspirators, criminal associates, or others involved
18
                     in importation of controlled substances from Mexico into the United
19                   States;
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             d.      tending to identify travel to or presence at locations involved in the
21                   importation of controlled substances from Mexico into the United States,
22                   such as stash houses, load houses, or delivery points;

23           e.      tending to identify the user of, or persons with control over or access to,
24                   the Target Devices; and/or

25              f.   tending to place in context, identify the creator or recipient of, or establish
                     the time of creation or receipt of communications, records, or data involved
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                     in the activities described above.
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 1                        FACTS SUPPORTING PROBABLE CAUSE
 2          7.    On January 29, 2020, at approximately 3:54 AM, Roy Eduardo RAMOS-
 3 II Figueroa, ("RAMOS-Figueroa"), a United States citizen, applied for entry into the United
 4 II States from Mexico through the San Ysidro Port of Entry in vehicle lane #22. RAMOS-
 5 II Figueroa was the driver and sole occupant of a 2011 Nissan Juke ("the vehicle") bearing
 611 California license plates. A Canine Enforcement Team was conducting pre-primary
 7 II operations when the Human and Narcotic Detection Dog alerted to the exterior of the
 8 II vehicle.   A Customs and Border Protection Officer received two negative Customs
 911 declarations from RAMOS-Figueroa. RAMOS-Figueroa stated he was crossing the border
10 II to go to Grossmont, California. A CBPO operating the Z-Portal X-Ray machine detected
11 II anomalies in the floor area of the vehicle. Further inspection of the vehicle resulted in the
12 II discovery of 51 total packages concealed in the floorboard area of the vehicle. 50 of the
13 II packages contained a substance, a sample of which field tested positive for the
14 II characteristics ofMethamphetamine, with a total approximate weight of27.30 kgs (60.19
15 II lbs); 1 of the packages contained a substance, a sample of which field tested positive for
16 II the characteristics of Cocaine, with a total approximate weight of 1.24 kgs (2. 73 lbs).
17 II RAMOS-Figueroa was placed under arrest at approximately 7:30 AM. RAMOS-Figueroa
18 II was arrested and charged with a violation of Title 21, United States Code, 952 and 960,
19 II importation of a controlled substance.
20 II       8.    Target Devices were seized from RAMOS-Figueroa at the time of his arrest.
21          9.    Based upon my experience and training, consultation with other law
22 II enforcement officers experienced in narcotics trafficking investigations, and all the facts
23 II and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
24 II electronic mail (email) addresses, appointment dates, messages, pictures and other digital
25 II information are stored in the memory of the Target Devices. In light of the above facts and
26 II my experience and training, there is probable cause to believe that Defendant was using
27 II the Target Devices to communicate with others to further the importation of illicit narcotics
28 II into the United States. Further, in my training and experience, narcotics traffickers may be

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 1 II involved in the planning and coordination of a drug smuggling event in the days and weeks
 2 II prior to an event. Co-conspirators are also often unaware of a defendant's arrest and will
 3 II continue to attempt to communicate with a defendant after their arrest to determine the
 4 II whereabouts of the narcotics. Based on my training and experience, it is also not unusual
 5 II for individuals, such as Defendant, to attempt to minimize the amount of time they were
 6 II involved in their smuggling activities, and for the individuals to be involved for weeks and
 7 II months longer than they claim. Accordingly, I request permission to search the Target
 8 II Devices for data beginning on December 29, 2019, up to and including January 29, 2020.
 9 II                                    METHODOLOGY
10          10.   It is not possible to determine, merely by knowing the cellular telephone's
11 II make, model and serial number, the nature and types of services to which the device is
12 II subscribed and the nature of the data stored on the devices. Cellular devices today can be
13 II simple cellular telephones and text message devices, can include cameras, can serve as
14 II personal digital assistants and have functions such as calendars and full address books and
15 II can be mini-computers allowing for electronic mail services, web services and rudimentary
16 II word processing. An increasing number of cellular service providers now allow for their
17 II subscribers to access their device over the internet and remotely destroy all of the data
18 II contained on the device. For that reason, the device may only be powered in a secure
19 II environment or, if possible, started in "flight mode" which disables access to the network.
20 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
21 II equivalents and store information in volatile memory within the device or in memory cards
22 II inserted into the device. Current technology provides some solutions for acquiring some of
23 II the data stored in some cellular telephone models using forensic hardware and software.
24 II Even if some of the stored information on the device may be acquired forensically, not all
25 II of the data subject to seizure may be so acquired. For devices that are not subject to forensic
26 II data acquisition or that have potentially relevant data stored that is not subject to such
2711 acquisition, the examiner must inspect the device manually and record the process and the
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 1 II results using digital photography. This process is time and labor intensive and may take
 2 II weeks or longer.
 3            11.    Following the issuance of this warrant, I will .collect the Target Devices and
· 4 II subject it to analysis. All forensic analysis of the data contained within the telephone and
 5 II its memory cards will employ search protocols directed exclusively to the identification
 6 II and extraction of data within the scope of this warrant.
 7           12.     Based on the foregoing, identifying and extracting data subject to seizure
 8 II pursuant to this warrant may require a range of data analysis techniques, including manual
 911 review, and, consequently, may take weeks or months. The personnel conducting the
1O II identification and extraction of data will complete the analysis within 90 days, absent
11   II further application to this court.
12
13                          PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
1411         13.     Law enforcement has not previously attempted to obtain the evidence sought
15 II by this warrant.
16                                           CONCLUSION
17           14.    Based on the facts and information set forth above, I submit there is probable
18 II cause to believe that a search of the Target Devices will yield evidence of Defendant's
1911 violations of Title 21, United States Code, Sections 952, 960 and 963. Accordingly, I
20 II request that the Court issue a warrant authorizing law enforcement to search the item
21     described in Attachments A-1 and A-2 and seize the items listed in Attachments B-1 and
22 B-2 using the above-described methodology.
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 1 II I swear the foregoing is true and correct to the best of my knowledge and belief.
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 3                                                0     ~         :::,
 4
                                                     ,~        men Jacobs
                                              Homeland Security Investigations
 5"
     11   Subscribed and sworn to before me thisI 'day of February, 2020.
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     Honorable William V. Gallo
 911 United States Magistrate Judge
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                                ATTACHMENT A-2

                          PROPERTY TO BE SEARCHED

The following property is to be searched:
                   iPhone S Model Al633
                   Seized as FP&F No. 2020250400096101
                   ("Target Device 02")




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The Target Device is currently in the possession of Homeland Security Investigations,
880 Front Street, Suite 3200, San Diego, California 92101.
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                                   ATTACHMENT B

                                 ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A-1
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of December 29, 2019, up to and including January 29, 2020:

       a.    tending to indicate efforts to import controlled substances from Mexico
             into the United States;

       b.    tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

       C.    tending to identify co-conspirators, criminal associates, or others involved
             in importation of Methamphetamine and Cocaine, or some other federally
             controlled substance, from Mexico into the United States;

       d.    tending to identify travel to or presence at locations involved in the
             importation controlled substances from Mexico into the United States,
             such as stash houses, load houses, or delivery points;

       e.    tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

       f.     tending to place in context, identify the creator or recipient of, or establish
              the time of creation or receipt of communications, records, or data involved
              in the activities described above;

which are evidence of violations ofTitle 21, United States Code, Sections 952,960 and
963.
